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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

CASE NEW HOLLAND INDUSTRIAL,
INC., and CNH INDUSTRIAL AMERICA
LLC,

                  Plaintiffs,

       v.                                         Civil Action No. 1:13-cv-01176-RBW

EQUAL EMPLOYMENT OPPORTUNITY
COMMISSION, and CHETAN PATEL,
Federal Investigator,

                  Defendants.


                  NOTICE OF DISMISSAL WITHOUT PREJUDICE

       By Order dated September 22, 2015, this Court allowed the filing of the Amended

Complaint of Case New Holland Industrial, Inc. and CNH Industrial America LLC in this

action. ECF ##40-41.

       By letter dated September 23, 2015, the District Director of the Defendant Equal

Employment Opportunity Commission (EEOC) for the EEOC Philadelphia District Office

notified Plaintiffs that the EEOC had terminated its investigation under the Age

Discrimination in Employment Act, 26 U.S.C. § 621 et seq., of Plaintiffs under EEOC

Charge No. 530-2011-01697.

       Based on the EEOC’s termination of its investigation and, pursuant to Fed. R. Civ. P.

41(a)(1)(A)(i), with there being no service upon Plaintiffs of an Answer or a Motion for

Summary Judgment, Plaintiffs hereby voluntarily dismiss this action without prejudice.
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Dated: October 28, 2015            Respectfully submitted,

                                   CASE NEW HOLLAND INDUSTRIAL, INC.
                                   CNH INDUSTRIAL AMERICA LLC


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                                   Industrial, Inc. and CNH Industrial America LLC
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                             CERTIFICATE OF SERVICE

       I hereby certify that on October 28, 2015, I caused the foregoing Notice of Dismissal

Without Prejudice to be served through the Court’s ECF filing system on the following

counsel of record:

              Colleen Adams Jackson
              U.S. Equal Employment Opportunity Commission
              Office of Legal Counsel
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              Washington, D.C. 20507
              Colleen.jackson@eeoc.gov



                                           /s/ Mark Casciari
                                           Mark Casciari
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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

CASE NEW HOLLAND INDUSTRIAL,
INC., and CNH INDUSTRIAL AMERICA
LLC,

                  Plaintiffs,

       v.                                           Civil Action No. 1:13-cv-01176-RBW

EQUAL EMPLOYMENT OPPORTUNITY
COMMISSION, and CHETAN PATEL,
Federal Investigator,

                  Defendants.


                                              ORDER

       AND NOW, upon consideration of Plaintiffs’ Notice of Dismissal Without Prejudice

pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i),

        IT IS HEREBY ORDERED that all claims asserted by Plaintiffs Case New Holland

Industrial, Inc. and CNH Industrial America LLC against Defendants Equal Employment

Opportunity Commission and Chetan Patel are DISMISSED WITHOUT PREJUDICE.

       SO ORDERED.



Date: ______________________
                                              _________________________________________
                                               The Honorable Reggie B. Walton
                                               United States District Judge




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